Case 1:23-cv-03721-SCJ Document 1-184 Filed 08/21/23 Page 1 of 5




                 EXHIBIT B-172
Case 1:23-cv-03721-SCJ Document 1-184 Filed 08/21/23 Page 2 of 5



                                                            ORIGINAL
                                                               FILED IN OFFICE
             IN THE SUPERIOR COURT OF FULTON COUNTY
                         STATE OF GEORGIA             O4 2023
                                                    AUG


 In re: Special Purpose
        Grand Jury



                                NOTICEOFAPPEAL
     Notice is given that President Donald J. Trump appeals to the Supreme
Court of Georgia from the Court's 31 July 2023 order denying his motion to
quash the special purpose grand jury's report and disqualify the district attor-
ney.

    The Appellant. The Appellant is President Donald J. Trump, who was
the movant of the motion to quash. He is represented on appeal by:
         DREWFINDLING
                              &
         MARISSAGOLDBERG
         Findling Law Firm
         3575 Piedmont Road
         Tower 15, Suite 1010
         ~nta,   Georgia 30305;
          :'!'._:··•· •   '


         JENNIFERLITTLE
         Jennifer Little Law, LLC
         400 GALLERIAParkway SE
         Suite 1920
         Atlanta, Georgia 30339;
                              and
         BRANDONA. BULLARD
         The Bullard Firm, LLC
         1827 Powers Ferry Road SE
         Building 11, Suite 250
         Atlanta, Georgia 30339.




                                        1
Case 1:23-cv-03721-SCJ Document 1-184 Filed 08/21/23 Page 3 of 5




    The Record. The Clerk should omit nothing from the record on appeal.
The Clerk should include hearing transcripts from:
       • 25 July 2022;
       • 25 August 2022;
       • 24 January 2023; and
       • All exhibits tendered during any proceeding in a reviewable form,
         whether admitted in evidence or not, see OCGA §§ 5-6-41(d) & 43(a).
     Jurisdiction. Jurisdiction is proper in the Supreme of Georgia. Under
Art. VI, § VI, ,rII(1) of the Georgia Constitution of 1983, the Supreme Court has
exclusive appellate jurisdiction in "all cases in which the constitutionality of a
law ... has been drawn in question." President Trump challenged in this pro-
ceeding the constitutionality of Geogia's special purpose grand jury scheme
(OCGA§ 15-12-100 et seq.), and he intends to urge those same grounds on ap-
peal. President Trump has properly invoked the Supreme Court's jurisdiction
under OCGA §§ 5-6-34(a)(1) and 38(a).
     Submitted on August 4, 2023 by:




Findiing Law Firm
3575 Piedmont Road
Tower 15, Suite 1010
Atlanta, Georgia 30305
 (404) 460-4500
 drew@findlinglawfirm.com
 marissa@findlinglawfirm.com




                                        2
Case 1:23-cv-03721-SCJ Document 1-184 Filed 08/21/23 Page 4 of 5




                                       '    ENNIFER LITTLE      (s ')i..c.d ,_,.,Iexfle.J"J pev"""~-.)le-,....__
                                           Ga. Bar No. 141596 b"J )1 o,vj/.J,.._6c-lo16":J)
Jennifer Little Law, LLC
400 Galleria Parkway SE
Suite 1920
Atlanta, Georgia 30339
(404) 947-7778
jlittle@jllaw.com




The Bullard Firm, LLC
1827 Powers Ferry Road SE
Building 11, Suite 250
Atlanta, Georgia 30339
(404) 954-0598
(404) 977-4689
brandon@bullardappeals.com
                    Counsel for President Donald J. Trump




                                      3
   Case 1:23-cv-03721-SCJ Document 1-184 Filed 08/21/23 Page 5 of 5




                              CERTIFICATE
                                       OFSERVICE
      I herebycertifythat a copyofthe foregoing:NOTICEOFAPPEAL
wasservedon:

FultonCountyDistrictAttorneyFani T. Willis
F..McDonaldWakeford
WillWooten
NathanWade
Fulton CountyDistrict Attorney's Office
By E-mail and Hand Delivery

Kieran J. Shanahan
ShanahanLawGroup,PLLC
By E-mail

Thomas M. Clyde
L~sli N. Gaither
KurtisG.Anderson
KilpatrickTownsend & Stockton LLP
By E-mail

BrianKammer
By E-mail

     This 4th day of August, 2023
